Upon application of the District Attorney for the Twenty-Fifth Judicial District Court, we issued a rule to the judge of said district to show cause why writs of mandamus, certiorari, and prohibition should not issue in order to review his (district judge's) ruling refusing to recuse himself on the trial of a motion to annul and set aside the proceedings of the Plaquemines Parish Jury Commission and to quash the general venire lists selected by them, as well as the grand and petit jury venires.
In response to the rule the district judge filed a motion to dismiss the same on the ground that all the matters presented by the application, including the writs prayed for, have become moot questions, in that, since the issuance of the rule, by order of this court dated April 3, 1940, he (district judge) has been temporarily relieved of his official duties by the Honorable Paul Debaillon, one of the judges of the Fifteenth Judicial District of Louisiana.
The relator, in a pleading subsequently filed, has joined the respondent judge in asking that the matter be dismissed for the reason that the issues therein raised have become moot, thus leaving nothing before us for consideration.
For the foregoing reason it is ordered that the rule herein issued is dissolved and the writs applied for are refused.
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